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                 UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF VERMONT
                                 x
                                 :
In re:                           : CHAPTER 11
                                 :
HERMITAGE INN REAL ESTATE        :
HOLDING COMPANY, LLC             : CASE NO. 19-10214 (CAB)
                                 :
               Debtor.           :
                                 x
                                 x
                                 :
In re:                           : CHAPTER 11
                                 :
HERMITAGE CLUB, LLC              : CASE NO. 19-10276 (CAB)
                                 :
               Debtor.           : (Jointly Administered)
                                 x

DEBTORS’ REPLY TO OBJECTIONS OF AD HOC COMMITTEE (DOCKET ID 162),
   BERKSHIRE BANK (DOCKET ID 167), BARNSTORMER SUMMIT LIFT, LLC
(DOCKET ID 168), REINHART FOODSERVICE, L.L.C. (DOCKET ID 169) and COLD
  BROOK FIRE DISTRICT NO. 1 (DOCKET ID 170) TO DEBTORS’ MOTION FOR
  FINAL ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN POSTPETITION
     FINANCING PURSUANT TO 11 U.S.C. §§ 105(a), 362 AND 364(c) and (d), (II)
    GRANTING LIENS AND SUPERPRIORITY CLAIMS TO THE DIP LENDER
  PURSUANT TO 11 U.S.C. § 364(c), AND (III) SCHEDULING A FINAL HEARING
                  PURSUANT TO BANKRUPTCY RULE 4001

       Hermitage Inn Real Estate Holding Company LLC (“HIREHCO”) and Hermitage Club

LLC (the “Club”, and together with HIREHCO, the “Debtors”), the debtors and debtors-in-

possession herein, by and through their undersigned proposed counsel, submit this reply (the

“Reply”) to the Objections of the Ad Hoc Committee, Berkshire Bank, Barnstormer Summit Lift,

LLC, Reinhart Foodservice, L.L.C. and Cold Brook Fire District No. 1 (collectively, the

“Objecting Parties”) to Debtors’ motion (the “Motion”) for entry of an order pursuant to sections

105(a), 361, 362, 363 and 364 of title 11 of the United States Code, 11 U.S.C. §§ 101, et. seq. (the

“Bankruptcy Code”), (i) authorizing the Debtors to obtain secured postpetition financing from

Restructured Opportunity Investors, Inc., or its assignee (the “DIP Lender” or “Lender”),
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consisting of a credit facility in the aggregate principal amount of up to $1,750,000 (the “DIP

Financing” or the “DIP Facility”) for the purpose of funding the Debtors’ general operating needs

and the administration of the Debtors’ chapter 11 cases, in accordance with (a) a Debtor-in-

Possession Loan and Security Agreement substantially in the form attached to the Motion (the

“DIP Loan Agreement”), between the Debtors and the DIP Lender and (b) the budget attached

hereto and made a part hereof as Exhibit A (“Budget”); (ii) authorizing the Debtors’ entry into

definitive loan documents and performance of such other acts as may be necessary or appropriate

in connection therewith; (iii) granting to the DIP Lender valid, fully perfected, and enforceable

security interests and liens (collectively, the “DIP Liens”) in and upon the DIP Collateral (as

defined in the DIP Loan Agreement) pursuant to sections 364(c)(2) and 364(d)(1) of the

Bankruptcy Code. In support of this Reply, the Debtors state as follows:

       1.     The Debtors, Berkshire Bank, the Ad Hoc Committee of Creditors and Barnstormer

Summit Lift, LLC have filed a Joint Stipulation of Facts (Docket ID 166) for the purpose of the

evidentiary hearing on the Motion.

       2.     Since filing their voluntary petitions for reorganization on May 28, 2019, the

Debtors have been engaged in significant litigation involving the administration of the Debtors’

cases. At the same time, Debtors have focused efforts on negotiating the terms of the DIP

Financing to maximize the value to the Debtors’ estate and to address issues and concerns raised

by creditors of the estate. As a result of those negotiations, benchmarks set by the DIP Lender

have been extended and the collateral included within the DIP Collateral has been reduced and

limited. The DIP Collateral includes only the Debtors owned real property, accounts, accounts

receivable, membership payments and ski lifts not covered by liens of Barnstormer Summit Lift,

LLC. The DIP Collateral does not include assets owned by non-debtor affiliates, including



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Hermitage Inn, LLC. The rights of lienholders with respect to assets owned by Hermitage Inn,

LLC would not be affected by the DIP Financing.

        3.       Additionally, the Budget attached hereto reflects the Debtors’ commitments to the

maintenance of its assets and payment of ongoing obligations including the costs of a sale process,

if necessary, using the net proceeds of the DIP Facility for the sixteen (16) week period set forth

in the Budget.

        4.       Entry into the DIP Financing provides the Debtors with the ability to pursue

reorganization efforts they have been focused on bringing to fruition for over a year. The DIP

Financing benchmarks provide a limited window of opportunity to allow members of the Club to

hear directly from Debtors’ management on a path forward through a plan of reorganization. In

the event the member support is not immediately apparent through the payment of dues 1 , the

Debtors have agreed to seek approval of a sale of substantially all their assets on or before August

19, 2019, just three weeks from the hearing on the Motion (the “Chapter 11 Sale”).

        5.       It is beyond doubt that a reorganization or sale is best accomplished prior to the

start of the winter 2019/2020 ski season. The Resort did not open for last year’s ski season and

prolonging the closure through this season is likely to impact membership loyalty to the Resort.

An agreement on a plan of reorganization within the next few weeks could lead to the confirmation

of a plan of reorganization within the sixteen (16) week period provided in the Budget.

Alternatively, a Chapter 11 Sale process initiated in August would enable the parties to market and

seek a closing on a sale within the timeframe set forth in the Budget. The initiation of the Chapter

11 Sale process necessitates that fewer employees would be needed by the Debtors and payroll



1
 The monthly dues contemplated in the benchmark are pro-rated annual dues, i.e. $15,000/12 or $1,250.00 per
member.



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resources will be re-allocated to fund marketing and sales efforts.

       6.      Courts have routinely approved priming liens where sufficient equity cushion exists

for secured creditors. Berkshire Bank enjoys a significant equity cushion. Realty Advisors has

valued the Debtors’ assets at $44,175,000 as of July 9, 2019 (the “Realty Advisors Appraisal”)

(Debtors’ Exhibit 3). The Realty Advisors Appraisal supplements and is consistent with its

appraisal dated November 30, 2018, which found that the fair market value of the assets as of

October 25, 2019 was $50,000,000 (the “Realty Advisors 2018 Appraisal”). The Realty Advisors

Appraisal is consistent with the appraisal dated September 10, 2018 prepared for Berkshire Bank

by Colliers International Valuation and Advisory Services (“Colliers”), which evidenced a fair

market value of $48,539,823 as of September 10, 2018 (the “Colliers Appraisal”) (Debtors’

Exhibit 4).

       7.      The Realty Advisors Appraisal relies on the appropriate appraisal methodology

under the circumstances. As set forth in the Realty Advisors Appraisal, the direct sales comparison

approach is the most reliable method of valuation of the Debtors’ assets. It relies on comparable

sales for each of the Debtors’ component assets to support its conclusion on valuation, which

reflects a diminution in value of the assets during the intervening nine month period in which the

Resort has been closed. The Realty Advisors Appraisal bases its valuation, in part, on the existence

of development permits. The Debtors assert that those permits are in force and effect for the future

development of the property.

       8.      Despite the substantial equity cushion evidenced by the Realty Advisors Appraisal

and the Colliers Appraisal, Berkshire Bank, nevertheless, argues that it is undersecured. The Bank

makes the argument based upon the appraisal prepared for it by Colliers attesting to a fair market

value of $23,650,000 as of July 11, 2019 (the “Bank Appraisal”) (Bank Exhibit 3). The Bank




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Appraisal is an anomaly, inconsistent with the Colliers Appraisal prepared just ten months ago and

inconsistent with the Realty Advisors Appraisal and the Realty Advisors 2018 Appraisal. The

Bank Appraisal is not credible evidence of the value of the Debtors’ assets. The Bank Appraisal

erroneously relies upon the cost approach to value the ski and Base Lodge, including a temporary

external obsolescence adjustment of $21,305,901 relying on an eight year model for the Resort.

The Debtors assert that there is no basis for this adjustment or the eight year model.

         9.       Berkshire Bank possesses a substantial equity cushion. Indeed, equity exists for all

lienholders sufficient to support a priming lien. The aggregate of the liens affecting the Debtors’

real property is $34,730,596.53, inclusive of the Berkshire Bank mortgage obligations2. However,

of that aggregate sum, $8,265,169 represents claims which the Debtors have disputed. Therefore,

the property is encumbered by $26,465,427.14 of liens and encumbrances not disputed by

Debtors3. As the Realty Advisors Appraisal evidences, the lienholders have a 37% equity cushion

prior to the priming lien. Even if disputed liens are included in the calculation, the lienholders still

possess an 18% equity cushion.

         10.      The Debtors’ Budget proposes to pay Berkshire Bank monthly adequate protection

payments in the amount of $42,500. These payments, coupled with the equity cushion, adequately

protect the interests of Berkshire Bank.

         11.      The lienholders subordinate to Berkshire Bank are already being primed by virtue

of the order of this Court dated May 31, 2019 (Docket ID 42) Granting Emergency Motion Under

11 USC § 303(f) to Keep State Court Appointed Receiver in Place During the Gap Period to

Preserve and Maintain Estate Assets (the “Receivership Order”). Pursuant to the Receivership


2
  The Debtors do not include in the aggregate amount the claims of lienholders with liens against real property owned
by HIREHCO where HIREHCO is not an obligor on the debt. Those liens total, in the aggregate, $3,330,006.87.
3
  Attached hereto and made a part hereof as Exhibit B is a summary of liens affecting the real property.



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Order, the Receiver, Alan Tantleff of FTI Consulting (the “Receiver”), is permitted to pay

expenses and costs of maintaining assets of the estate pursuant to an approved budget. The costs

and expenses incurred by the Receiver are added to the Berkshire Bank obligations, thus

effectively priming the subordinate lienholders. Similarly, the proposed DIP Final Order would

allow spending by the Debtors to maintain its assets pursuant to an approved budget. Therefore,

the subordinate lienholders would be in a similar position under the DIP Final Order as they are

under the Receivership Order. In fact, the Debtors assert that the subordinate lienholders would

be in an improved situation under the DIP Final Order as the DIP Financing Agreement

contemplates either a quick consensus on a reorganization or an efficient transition to a sale

process. This action plan will allow the Debtors to move forward quickly on a plan or maximize

the sale value of the assets by consummation of a sale before the 2019/2020 ski season.

       12.     The Debtors’ assets are adequately insured as evidenced by the Certificates of

Insurance attached hereto and made a part hereof as Exhibit C.

       13.     The terms of the DIP Financing mandate that the Debtors’ cases are on a fast track

to confirm a plan of reorganization or consummate a sale of substantially all their assets within a

sixteen week period. This brief time period allows Debtors the opportunity to reorganize afforded

to them by the Bankruptcy Code while limiting the risk of a drawn-out process in which the

likelihood of a recovery for junior lienholders and unsecured creditors diminishes.

       14.     Approval of the DIP Financing and allowing the Debtors the opportunity to forge

ahead with its reorganization efforts is in the best interest of the junior lienholders and unsecured

creditors of the estate. A sale in Chapter 7, in the event the Debtors’ cases are converted, requires

funding. Neither Berkshire Bank nor any other creditor has committed to funding any such

Chapter 7 sale process. Absent funding for a chapter 7 sale process, Berkshire Bank could seek




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relief from the provisions of the automatic stay in order to prosecute its state court foreclosure

action. The foreclosure action will likely leave junior lienholders and unsecured creditors with

little or no recovery.

        15.     In addition, any conversion to Chapter 7 will inevitably result in a substantial loss

of time as a trustee would need to be appointed and acquire the facts and information needed to

liquidate these complex cases. That loss of time will almost certainly result in an inability to

consummate a sale (assuming a sale process received a funding source) in time for the winter

2019/2020 season, resulting in lost value and opportunity. It is the Debtors intent to utilize the

proceeds of the DIP Financing to complete its reorganization or consummate a sale of the Resort

to ensure an opening for the winter ski season.


        WHEREFORE, for all the foregoing reasons and the reasons more fully set forth in the

DIP Motion, the Debtors respectfully request that the Court grant the Motion.


Dated: July 25, 2019                                    THE DEBTORS,
       New Haven, Connecticut                           HERMITAGE INN REAL ESTATE
                                                        HOLDING COMPANY, LLC and
                                                        HERMITAGE CLUB, LLC


                                                  By:      /s/Douglas S. Skalka
                                                        Douglas S. Skalka (ct00616)
                                                        NEUBERT, PEPE & MONTEITH, P.C.
                                                        195 Church Street, 13th Floor
                                                        New Haven, Connecticut 06510
                                                        Telephone 203.821.2000
                                                        dskalka@npmlaw.com
                                                        and
                                                        Thomas P. Simon, Esq.
                                                        McCormick, Fitzpatrick, Kasper & Burchard, P.C.
                                                        40 George Street
                                                        Burlington, Vermont 05401
                                                        (802) 863-3494
                                                        tps@mc-fitz.com


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      The Hermitage Club
      Confidential
      Projected Weekly Cash Flow Analysis
                                                              Week Ending
         7/15/2019                                               Week 1         Week 2        Week 3        Week 4          Week 5         Week 6           Week 7           Week 8        Week 9        Week 10       Week 11       Week 12       Week 13       Week 14       Week 15       Week 16
      Operating Cash Receipts
                   Membership Annual Dues                                -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                   Membership and Administrative                         -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
               -   Existing AR (Collections/Sweep)       0%              -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                   Lodging, Food and Beverage                            -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                   Snowsports & Mountain Operations                      -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                   Clubhouse Amenities                                   -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                   Golf Course                                           -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                   Restructure Funds Reserve and Other                   -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -
                      Total Receipts                                     -               -             -             -               -              -                  -              -             -           -             -             -                -             -             -             -

      Operating Cash Disbursements
38%                COGS Disbursements                                   -             -             -             -               -                -                   -           -             -              -             -             -             -             -             -             -
                   Admin Payroll                                     11,307        11,307        11,307        11,307          11,307           11,307              11,307      11,307        11,307         11,307        11,307        11,307        11,307        11,307        11,307        11,307
                   Operations Payroll                                 8,025         8,025         8,025         8,025           8,025            8,025               8,025       8,025         8,025          8,025         8,025         8,025         8,025         8,025         8,025         8,025
                   Employee Health Benefits                           1,499         1,499         1,499         1,499           1,499            1,499               1,499       1,499         1,499          1,499         1,499         1,499         1,499         1,499         1,499         1,499
                   Mountain Operations Exp                              -           2,000           -           2,500           2,500            2,000                 -         2,500         2,500          2,000         2,500         2,500         2,500         2,000         2,500         2,500
                   Snowsports Exp                                       -             -             -             -               -                -                   -           -             -              -             -             -             -             -             -             -
                   Golf Course Exp                                      718           718           718           718             718              718                 718         718           718            718           718           718           718           718           718           718
                   Clubhouse Amenity Exp                                -             -             -             -               -                -                   -           -             -              -             -             -             -             -             -             -
                   Food & Beverage Exp                                  -             -             -             -               -                -                   -           -             -              -             -             -             -             -             -             -
                   Other Properties Exp                                 -             -             -             -               -                -                   -           -             -              -             -             -             -             -             -             -
                   Overhead - Utility                                   -             -          20,525           200             -                -                20,525         200           -              -             -          20,725           -             -             -          20,525
                      Total Disbursements                            21,549        23,548        42,073        24,248          24,048           23,548              42,073      24,248        24,048         23,548        24,048        44,773        24,048        23,548        24,048        44,573

      Net Operating Cash Flow                                        (21,549)      (23,548)      (42,073)      (24,248)        (24,048)        (23,548)         (42,073)        (24,248)      (24,048)      (23,548)      (24,048)      (44,773)      (24,048)      (23,548)      (24,048)      (44,573)

      Nonoperating Cash Disbursements & Receipts
                  Loan Obligations                                (1,317,500)                                        -         10,000               -                  -              -       10,000            -             -             -          10,000           -                -          -
                  Equipment, and Insurance Obligations                   -               -          -                -         37,870               -                  -              -       37,870            -             -             -             -          37,870              -          -
                  Berkshire Bank Payments                                -               -       42,500              -                                              42,500            -          -              -             -          42,500           -             -                -       42,500
                  Coldbrook - Water/Sewer Fees                                                                                  75,000            -
                  Real Estate Tax Obligations                                                                                  286,000            -
                  Maintenance Allocation                                 -             -          15,000           -               -              -                 -              -             -              -             -             -             -             -             -             -
                  Professional Fee Escrow                                -             -             -             -            50,000            -                 -              -             -           50,000           -             -             -          50,000           -             -
                  US Trustee/Receiver Fees                               -             -             -             -             1,650            -                 -              -             -            1,650           -             -             -           1,650           -             -
                     Total Nonoperating Cash Flow                 (1,317,500)          -          57,500           -           460,520            -              42,500            -          47,870         51,650           -          42,500        10,000        89,520           -          42,500
                                                                         -             -             -             -               -              -                 -              -             -              -             -             -             -             -             -             -
      Beginning Cash Balance                                             -       1,295,951     1,272,403     1,172,830       1,148,581        664,013           640,464        555,891       531,643        459,724       384,526       360,477       273,204       239,156       126,087       102,039
                                                                         -             -             -             -               -              -                 -              -             -              -             -             -             -             -             -             -
                   Net Operating Cash Flow                           (21,549)      (23,548)      (42,073)      (24,248)        (24,048)       (23,548)          (42,073)       (24,248)      (24,048)       (23,548)      (24,048)      (44,773)      (24,048)      (23,548)      (24,048)      (44,573)
                   Net Nonoperating Cash Flow                      1,317,500           -         (57,500)          -          (460,520)           -             (42,500)           -         (47,870)       (51,650)          -         (42,500)      (10,000)      (89,520)          -         (42,500)
                                                                         -             -             -             -               -              -                 -              -             -              -             -             -             -             -             -             -
                   Total Cash Flow                                 1,295,951       (23,548)      (99,573)      (24,248)       (484,568)       (23,548)          (84,573)       (24,248)      (71,918)       (75,198)      (24,048)      (87,273)      (34,048)     (113,068)      (24,048)      (87,073)
                                                                         -             -             -             -               -              -                 -              -             -              -             -             -             -             -             -             -
      Ending Cash Balance                                          1,295,951     1,272,403     1,172,830     1,148,581         664,013        640,464           555,891        531,643       459,724        384,526       360,477       273,204       239,156       126,087       102,039        14,965
                                                                         -             -             -             -               -              -                 -              -             -              -             -             -             -             -             -             -




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                                               CERTIFICATE OF LIABILITY INSURANCE                                                                                    07/15/2019
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
  If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
  this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
PRODUCER                                                603-532-4131                        CONTACT Nicholas Hill
                                                                                            NAME:
Hill Family Insurance Agcy Inc                                                              PHONE           603-532-4131                            FAX        603-532-9303
10 Turnpike Road                                                                            (A/C, No, Ext):                                         (A/C, No):
Jaffrey, NH 03452-                                                                          E-MAIL
                                                                                            ADDRESS:
Nicholas Hill
                                                                                                              INSURER(S) AFFORDING COVERAGE                                NAIC #
                                                                                            INSURER A : Tokio   Marine Specialty
INSURED                                                                                     INSURER B :
Hermitage Inn Real Estate Holding Company LLC
Hermitage Club LLC                                                                          INSURER C :
183 Gatehouse Trail
Deerfield Valley, VT 05363                                                                  INSURER D :

                                                                                            INSURER E :
                                                                                            INSURER F :

COVERAGES                                   CERTIFICATE NUMBER:                                                                  REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                              ADDL SUBR                                         POLICY EFF   POLICY EXP
 LTR              TYPE OF INSURANCE               INSD WVD             POLICY NUMBER               (MM/DD/YYYY) (MM/DD/YYYY)                            LIMITS
           COMMERCIAL GENERAL LIABILITY                                                                                           EACH OCCURRENCE                $
                 CLAIMS-MADE        OCCUR                                                                                         DAMAGE TO RENTED
                                                                                                                                  PREMISES (Ea occurrence)       $
                                                                                                                                  MED EXP (Any one person)       $
                                                                                                                                  PERSONAL & ADV INJURY          $
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                         GENERAL AGGREGATE              $
           POLICY     PRO-          LOC
                      JECT                                                                                                        PRODUCTS - COMP/OP AGG         $
           OTHER:                                                                                                                                                $
                                                                                                                                  COMBINED SINGLE LIMIT
       AUTOMOBILE LIABILITY                                                                                                       (Ea accident)                  $
           ANY AUTO                                                                                                               BODILY INJURY (Per person)     $
           OWNED                  SCHEDULED
           AUTOS ONLY             AUTOS                                                                                           BODILY INJURY (Per accident) $
           HIRED                  NON-OWNED                                                                                       PROPERTY DAMAGE
           AUTOS ONLY             AUTOS ONLY                                                                                      (Per accident)               $
                                                                                                                                                                 $
           UMBRELLA LIAB            OCCUR                                                                                         EACH OCCURRENCE                $
           EXCESS LIAB              CLAIMS-MADE                                                                                   AGGREGATE                      $
           DED        RETENTION $                                                                                                                                $
       WORKERS COMPENSATION                                                                                                            PER             OTH-
       AND EMPLOYERS' LIABILITY                                                                                                        STATUTE         ER
                                            Y/N
       ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                           E.L. EACH ACCIDENT             $
       OFFICER/MEMBER EXCLUDED?                   N/A
       (Mandatory in NH)                                                                                                          E.L. DISEASE - EA EMPLOYEE $
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                            E.L. DISEASE - POLICY LIMIT    $
 A Inland Marine                                              IM5000780-00                          07/10/2019 07/10/2020 Property                                        13,800,000



DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Barnstormer Doppelmeyer 6 CLDB $8,200,000 / Hayfever Sky Track Triple
$400,000 / Tage Sky Track Quad $750,000 / Stags Leap Sky Track Quad
$1,350,000 / Witches POMA Triple $700,000 / Miscellaneous Equipment
$2,400,000. Bershire Bank, Barnstormer Summit Lift, LLC and Lakeland Bank
are listed as Loss Payee and Additional Insured.



CERTIFICATE HOLDER                                                                          CANCELLATION
                                                                         HERMITA
                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                              ACCORDANCE WITH THE POLICY PROVISIONS.
                 Hermitage Inn Real Estate
                 Holding Company LLC
                                                                                            AUTHORIZED REPRESENTATIVE
                 Hermitage Club LLC
                 183 Gatehouse Trail
                 Deerfield Valley, VT 05363
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